9:19-cv-01169-HMH   Date Filed 04/22/19   Entry Number 1   Page 1 of 16




                                                   9:19-cv-1169-HMH-BM
9:19-cv-01169-HMH   Date Filed 04/22/19   Entry Number 1   Page 2 of 16
9:19-cv-01169-HMH   Date Filed 04/22/19   Entry Number 1   Page 3 of 16
9:19-cv-01169-HMH   Date Filed 04/22/19   Entry Number 1   Page 4 of 16
9:19-cv-01169-HMH   Date Filed 04/22/19   Entry Number 1   Page 5 of 16
9:19-cv-01169-HMH   Date Filed 04/22/19   Entry Number 1   Page 6 of 16
9:19-cv-01169-HMH   Date Filed 04/22/19   Entry Number 1   Page 7 of 16
9:19-cv-01169-HMH   Date Filed 04/22/19   Entry Number 1   Page 8 of 16
9:19-cv-01169-HMH   Date Filed 04/22/19   Entry Number 1   Page 9 of 16
9:19-cv-01169-HMH   Date Filed 04/22/19   Entry Number 1   Page 10 of 16
9:19-cv-01169-HMH   Date Filed 04/22/19   Entry Number 1   Page 11 of 16
9:19-cv-01169-HMH   Date Filed 04/22/19   Entry Number 1   Page 12 of 16
9:19-cv-01169-HMH   Date Filed 04/22/19   Entry Number 1   Page 13 of 16
9:19-cv-01169-HMH   Date Filed 04/22/19   Entry Number 1   Page 14 of 16
9:19-cv-01169-HMH   Date Filed 04/22/19   Entry Number 1   Page 15 of 16
9:19-cv-01169-HMH   Date Filed 04/22/19   Entry Number 1   Page 16 of 16
